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                                                                                             12/31/2020



                                             THE CITY OF NEW YORK
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                                                                      December 31, 2020

        BY ECF
        Honorable Katharine H. Parker
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                      Re: Luna v. City of New York et al.
                          Civil Action No. 20-CV-2692 (VEC)(KHP)
                          Law Dept. No.: 2020-021359

        Dear Magistrate Judge Parker:

                       I am an Assistant Corporation Counsel in the Office of James E. Johnson,
        Corporation Counsel of the City of New York, attorney for Defendants City of New York and
        New York City Health + Hospitals in the above-referenced proceeding. I write to request that
        the Court reschedule the telephonic status conference currently scheduled for January 13, 2021 at
        10:00 A.M. to a date mutually available to all parties.

                      This request is made because I represent the respondents in a hearing before a
        Special Referee in Smith v. O’Neill, Index No. 101618/2017 (N.Y. Sup. Ct., N.Y. Cnty.), and the
        Special Referee recently requested that the parties be ready to proceed with further witness
        testimony on January 13, 2021.

                      I have informed the pro se Plaintiff of this scheduling conflict and he consents to
        an adjournment of the status conference. The parties are mutually available for a conference on
        January 11 (morning only), 12, 19, 20, 21 (afternoon only), 25, 27, 28 or 29.

                      I thank the Court for its attention to this request.

                                                                      Respectfully submitted,
                                                                      /s/
                                                                      Alana R. Mildner
                                                                      Assistant Corporation Counsel
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cc: By First-Class Mail
Daniel Luna
Plaintiff Pro Se
1500 Noble Avenue, Apt. 18D
Bronx, New York 10460



  The telephonic Status Conference scheduled for Wednesday, January 13, 2021 at 10:00 a.m. is
  hereby rescheduled to Wednesday, January 27, 2021 at 12:45 p.m. The parties' are directed to call
  into the court's teleconference line at the scheduled time by dialing (866) 434-5269, Access code:
  4858267. The Clerk of Court is requested to mail a copy of this order to the Plaintiff.




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